            Case 3:23-cr-00671-DCG Document 3 Filed 03/22/23 Page 1 of 2
                                                                                          FILED
                                                                                        MAR 2 2 223
                                                                               CL8Rç
                                                                                   U.1TRICT COURT
                                                                              WESTERN.[c
                           UNITED STATES DISTRICT COURT                                              OF TEXAS
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION                                                  UTYCLER

 UNITED STATES OF AMERICA,
      Plaintiff,

                                                      EP t                  B-      L
 LORENA MORENO,
        Defendant.

            UNITED STATES' MOTION TO DETAIN DEFENDANT WITHOUT
                     BOND AND MOTION FOR CONTINUANCE

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and pursuant to 18 U.S.C.   § 3 142(e)   and (f)(1)(C), files this, its

Motion to Detain Defendant Without Bond and Motion for Continuance, and for cause, would

respectfully show unto the Court the following:

       I.      The Defendant attempted to import into the United States from Mexico

approximately 79.3 grams of fentanyl.

       2.      The Defendant was subsequently charged in a criminal complaint with a violation

of the Controlled Substances Act which carries a term of imprisonment of 10 years or more.

       3.      Subject to rebuttal by the Defendant, it shall be presumed that no condition or

combination of conditions will reasonably assure the appearance of the Defendant as required and

the safety of the community if the Court finds there is probable cause to believe the Defendant

committed the offense. 18 U.S.C.     3142(e)(2)(A).

       The Government would further move the Court for a three-day continuance of the detention

hearing from the date of the initial appearance.
          Case 3:23-cr-00671-DCG Document 3 Filed 03/22/23 Page 2 of 2




       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.


                                            Respectfully submitted,

                                            JAIME ESPARZA
                                            U1'ITED STATES ATTORNEY


                                    By:      'j
                                            VICTORIA S. CROSBY/
                                            Assistant U.S. Attorney
                                            Wisconsin Bar #1104704
                                            700 E. San Antonio, Suite 200
                                            El Paso, Texas 79901
                                            (915) 534-6884




                                              2
